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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       )  CRIMINAL NO. 21-cr-10104-PBS
                                     )
VLADISLAV KLYUSHIN                   )
            Defendant                )
____________________________________)

 ASSENTED-TO MOTION FOR LEAVE TO FILE A RESPONSE TO MEMORANDUM
    OF THE UNITED STATES OPPOSING APPEAL OF MAGISTRATE JUDGE’S
                     PRETRIAL DETENTION ORDER

        Now comes the Defendant Vladislav Klyushin, by and through undersigned counsel, and

hereby respectfully requests leave to file a short response to the Government’s Memorandum

Opposing Appeal of Magistrate Judge’s Pretrial Detention Order. As grounds and reasons

therefore, the defense states that it seeks to address legal and factual issues that were raised by the

Government’s brief that could not have been reasonably anticipated by the defense.

        WHEREFORE, the defense respectfully requests this Honorable Court to grant its request.

                        COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

        The undersigned counsel has conferred with the Government, who by and through

AUSAs Seth Kosto and Stephen Frank, assent to this request.

                                                        Respectfully Submitted,
                                                        Vladislav Klyushin,
                                                        By His Attorney,

                                                        /s/ Maksim Nemtsev
                                                        Maksim Nemtsev, Esq.
                                                        Mass. Bar No. 690826
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Dated: May 5, 2022

                               CERTIFICATE OF SERVICE

        I, Maksim Nemtsev, hereby certify that on this date, May 5, 2022, a copy of the
foregoing documents has been served via Electronic Court Filing system on all registered
participants.



                                                   /s/ Maksim Nemtsev
                                                   Maksim Nemtsev, Esq.




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